     Case 1:25-cv-10912-ADB       Document 1   Filed 04/14/25   Page 1 of 41




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


ASSOCIATION OF AMERICAN
UNIVERSITIES,

AMERICAN COUNCIL ON EDUCATION,

ASSOCIATION OF PUBLIC AND LAND-
GRANT UNIVERSITIES,

BROWN UNIVERSITY,
                                               Case No. _______________
CALIFORNIA INSTITUTE OF
TECHNOLOGY,                                    COMPLAINT

CORNELL UNIVERSITY,

BOARD OF TRUSTEES OF THE
UNIVERSITY OF ILLINOIS,

MASSACHUSETTS INSTITUTE OF
TECHNOLOGY,

REGENTS OF THE UNIVERSITY OF
MICHIGAN,

BOARD OF TRUSTEES OF MICHIGAN
STATE UNIVERSITY,

TRUSTEES OF PRINCETON UNIVERSITY,
and

UNIVERSITY OF ROCHESTER,

             Plaintiffs,

      v.

DEPARTMENT OF ENERGY, and

CHRIS WRIGHT, in his official capacity as
Secretary of the Department of Energy,

             Defendants.
       Case 1:25-cv-10912-ADB            Document 1        Filed 04/14/25      Page 2 of 41




       1.      This suit challenges a flagrantly unlawful action by the Department of Energy

(“DOE”)—slashing “indirect cost rates” for government-funded research—that is a virtual carbon

copy of the National Institutes of Health (“NIH”) policy that a district court has permanently

enjoined, after previously granting a prompt temporary restraining order and preliminary

injunction. Massachusetts v. Nat’l Institutes of Health (“NIH”), No. 25-CV-10338, 2025 WL

702163, at *1 (D. Mass. Mar. 5, 2025), judgment entered (D. Mass. Apr. 4, 2025), appeal filed (D.

Mass. Apr. 8, 2025). DOE’s action is unlawful for most of the same reasons and, indeed, it is

especially egregious because DOE has not even attempted to address many of the flaws the district

court found with NIH’s unlawful policy. Here, as there, if DOE’s policy is allowed to stand, it

will devastate scientific research at America’s universities and badly undermine our Nation’s

enviable status as a global leader in scientific research and innovation.

       2.      For decades, universities have built their research institutions on the government’s

commitment to fund the costs of the research it supports. Some of those costs are “direct;” that is,

they are readily attributable to specific projects. Others are “indirect;” that is, they are necessary

for the research to occur but harder to attribute to individual projects. Specialized nuclear-rated

facilities; computer systems to analyze enormous volumes of data; information-technology and

utility systems providing the backbone for those efforts; and researchers and administrative staff

who keep the systems running—all are critical to cutting-edge research, but their costs typically

cannot be allocated to any single project. Because of caps on administrative costs, moreover,

universities contribute a significant amount of their own funds to cover such costs, thereby

subsidizing the work funded by grants.

       3.      Congress understood that agencies would “provide for payment of reimbursable

indirect costs on the basis of predetermined fixed-percentage rates” via a bespoke process




                                                  2
        Case 1:25-cv-10912-ADB            Document 1         Filed 04/14/25       Page 3 of 41




accounting for each institution’s unique cost structures and grants. 41 U.S.C. § 4708. That is why

Congress gave the Executive Branch the quintessentially administrative task of identifying

institution-specific metrics and did not itself set across-the-board metrics. Hence, the Office of

Management and Budget (“OMB”) exercised its authority to promulgate regulations requiring

agencies to negotiate indirect cost rates with individual financial assistance recipients through a

carefully regulated process, based on each institution’s unique needs and cost structure. See 31

U.S.C. § 503(a), (b)(2)(C) (empowering OMB to “establish governmentwide financial

management policies for executive agencies,” including as to “grant[s]”). For universities, the

indirect cost rates are typically negotiated by either “the Department of Health and Human Services

(HHS) or the Department of Defense’s Office of Naval Research (DOD), normally depending on

which of the two agencies (HHS or DOD) provide[d] more funds directly to the [relevant]

educational institution for the most recent three years.” 2 C.F.R. pt. 200, app. III(C)(11)(a)(1). By

regulation, this negotiation yields a rate that is intended to reflect the actual, verified indirect costs

incurred by the institution. Then, “[n]egotiated indirect cost rates must be accepted by all Federal

agencies,” unless one of the narrow exceptions applies. 2 C.F.R. § 200.414(c)(1).

        4.      The purpose of this process is to ensure that the negotiated rate correctly captures

the actual indirect costs incurred in the conduct of research. Differences in indirect cost rates do

not reflect undeserved government subsidies; rather, institutions have different indirect cost rates

because they engage in different types of research and have unique mixes of fixed and variable

institutional costs that are appropriately allocated across multiple research projects or other cost

objectives. Government funding agencies may deviate from the negotiated rates only in limited

circumstances, and only via procedures that provide ample notice and protections to ensure that

the basic terms of engagement are not changed precipitously. The regulatory framework thus
       Case 1:25-cv-10912-ADB            Document 1        Filed 04/14/25      Page 4 of 41




recognizes that there is no one-size-fits-all approach and that participating institutions have

profound reliance interests in the negotiated rates—rates that are tailored to their circumstances

and that facilitate the work that makes the United States a world leader in cutting-edge research.

       5.      This is not the first time an administration has considered limiting indirect cost rates

and superimposing a one-size-fits-all regime on what has long been a tailored, negotiated process.

In 2017, the Administration proposed slashing the indirect cost rate to 10% for all NIH grants. The

reaction in Congress was swift and bipartisan.             Congress identified serious problems

immediately—observing that the proposal would “radically change the nature of the Federal

Government’s relationship with the research community” by altering a methodology for indirect

rates that “has been in place since 1965,” emphasizing that Congress had “not seen any details of

the proposal that might explain how it could be accomplished without throwing research programs

across the country into disarray,” S. Rep. No. 115-150, at 109 (2017), and concluding that this

proposal was “misguided and would have a devastating impact on biomedical research across the

country,” H.R. Rep. No. 115-244, at 50 (2017).

       6.      In February 2025, the Administration nonetheless tried the same maneuver again,

and NIH issued a notice stating that it was “imposing a standard indirect cost rate on all grants of

15%.” NIH, Supplemental Guidance to the 2024 NIH Grants Policy Statement: Indirect Cost

Rates, NOT-OD-25-068 (Feb. 7, 2025), https://grants.nih.gov/grants/guide/notice-files/NOT-OD-

25-068.html. A federal district court quickly enjoined that policy, finding that the Administration

had not only flouted an appropriations rider that Congress had enacted in the wake of the 2017

NIH episode, but also had violated the government-wide regulations governing indirect cost rates

and the reasoned decisionmaking requirements of the Administrative Procedure Act (“APA”).

NIH, 2025 WL 702163, at *1.




                                                  4
        Case 1:25-cv-10912-ADB            Document 1        Filed 04/14/25       Page 5 of 41




        7.      Now the Administration has brought a similar policy to DOE, issuing late on April

11, 2025 a new policy stating that “hereinafter, the Department will no longer use the negotiated

indirect cost rate” for universities; “setting a standardized 15 percent indirect cost rate for all grant

awards to” universities; and announcing that DOE “is undertaking action to terminate all grant

awards to [universities] that do not conform with this updated policy.” DOE, Policy Flash:

Adjusting Department of Energy Grant Policy for Institutions of Higher Education (IHE) (Apr.

11, 2025) (attached as Ex. A) (“Rate Cap Policy”). The announcement acknowledges that “many

grant recipients use indirect cost payments to effectuate research funded by the Department’s grant

awards,” but then states without explanation that a categorical limit on indirect cost rates of 15%

is necessary to ensure DOE “is putting [funds] to appropriate use” and to “improve efficiency and

curtail costs where appropriate.” The Rate Cap Policy applies this supposedly necessary limit on

indirect cost rates “only with respect to” universities, not to other recipients of DOE grants.

        8.      As with the NIH’s similar maneuver, DOE’s Rate Cap Policy is unlawful, and

obviously so. It violates the indirect-cost regulations that OMB promulgated precisely to provide

needed stability, protect reliance interests, and ensure that recipients can cover the actual costs of

conducting the research that the government has selected them to undertake. Those regulations

provide, in no uncertain terms, that the “[n]egotiated indirect cost rates must be accepted by all

Federal agencies.” 2 C.F.R. § 200.414(c)(1). DOE’s reading of the narrow exceptions from that

mandate would render that command meaningless and effectively replace the word “must” with

“may,” allowing any agency to toss those negotiated rates simply by announcing a different across-

the-board policy. Nothing in the regulations’ text remotely supports that bizarre reading. Indeed,

the Rate Cap Policy separately violates the regulations’ requirement that any departure from the

negotiated rate appear upfront in the notice of funding opportunity—a requirement that DOE
       Case 1:25-cv-10912-ADB           Document 1        Filed 04/14/25      Page 6 of 41




cannot evade by purporting to cancel the grants of recipients that decline to agree to its unlawful

15% rates.

       9.      The Rate Cap Policy also defies the APA’s reasoned-decisionmaking requirements.

Although the Rate Cap Policy strings together a few sentences describing its change, absent is any

genuine attempt at an explanation—one that would “examine[] ‘the relevant data’ and articulate[]

‘a satisfactory explanation’ for [the] decision, ‘including a rational connection between the facts

found and the choice made.’” Dep’t of Com. v. New York, 588 U.S. 752, 773 (2019) (quoting

Motor Vehicle Mfrs. Assn. of United States, Inc. v. State Farm Mut. Automobile Ins. Co., 463 U.S.

29, 43 (1983)). The Rate Cap Policy ignores that indirect costs are necessary for critical research

to proceed and are distinguished from direct costs only in that they are not attributable to just one

grant. The Policy ignores the devastating consequences of jettisoning an approach dating back to

1965—consequences that Congress itself emphasized the only other time something like this was

proposed. It ignores how its across-the-board policy thwarts the very goal that DOE purports to

pursue: “continuing to expand American innovation and scientific research.” It ignores, as well,

the reliance interests of the universities receiving federal funding—reliance interests that DOE

casually destroys. Cf. FCC v. Fox Television Stations, 556 U.S. 502, 515 (2009) (if a “new policy

rests upon factual findings that contradict those which underlay its prior policy; or when its prior

policy has engendered serious reliance interests” an agency’s failure to consider such factors

“would be arbitrary or capricious”). The Policy likewise ignores the guidance this Court provided

in striking down the NIH’s virtually identical effort. Finally, the Rate Change Policy inexplicably

imposes its new requirement only on universities, not other DOE grant recipients. If this approach

were a sound policy necessary to protect the public fisc (it is not), DOE would have applied it more

broadly—or at least explained why it targeted only universities. The contours of DOE’s decision




                                                 6
       Case 1:25-cv-10912-ADB           Document 1       Filed 04/14/25      Page 7 of 41




thus “cannot be adequately explained in terms of’ the explanation it provided.” Dep’t of

Commerce, 588 U.S. at 784.

       10.     The effects, moreover, will be immediate and devastating. The Rate Cap Policy

states unequivocally that “the Department is undertaking action to terminate all grant awards to

IHEs that do not conform with this updated policy” (emphasis added). That is, DOE is poised to

put recipients to a choice: Either accept reductions in indirect cost rates, or face terminations.

And as soon as recipients face that choice, the harm will be immediate and irreparable. Because

universities cannot sustain DOE-funded programs at the 15% indirect cost rate that DOE will

now inflict, myriad critical projects—often the product of years or decades of effort—are in

jeopardy of being stopped in their tracks. These include the development of advanced nuclear

and cybersecurity technologies, arms control verification mechanisms designed to reduce the risk

of nuclear war, novel radioactive drugs to diagnose and treat cancer, and upgrades for the

electrical grids that keep the lights on in rural communities, among many others. Meanwhile, the

human cost will be immense, as universities will have to immediately reduce staff and training

programs—irreversibly damaging their academic communities, the careers of these young

researchers, and the national interest in training the next generation of scientists. Nor can the

consequences of grinding vital scientific work to a halt, and stifling training, be unwound. The

pace of scientific discoveries in the national interest will be slowed. Progress on a safe and

effective nuclear deterrent, novel energy sources, and cures for debilitating and life-threatening

illness will be obstructed. America’s rivals will celebrate, even as science and industry in the

United States suffer.
           Case 1:25-cv-10912-ADB            Document 1         Filed 04/14/25       Page 8 of 41




                                     JURISDICTION AND VENUE

          11.      This action arises under the Administrative Procedure Act (APA), 5 U.S.C.

§§ 701-706, and regulations governing federal grants. This Court has subject matter jurisdiction

pursuant to 28 U.S.C. § 1331 and the APA.

          12.      Venue is proper in this District under 28 U.S.C. § 1391(e)(1), because Defendants

are agencies of the United States and officers of the United States acting in their official capacity,

and a substantial part of the events or omissions giving rise to the claims occurred in this District,

and a Plaintiff resides in this district.

                                                  PARTIES

          13.      Plaintiff Association of American Universities (“AAU”) is an association

composed of 71 leading research universities with the goal of transforming lives through

education, research, and innovation. AAU’s member organizations are public and private

research universities that are world-renowned centers of scientific and technological research and

innovation. Much of their scientific work is supported by DOE grants.

          14.      Plaintiff Association of Public and Land-Grant Universities (“APLU”) is a

membership organization that fosters a community of university leaders collectively working to

advance the mission of public research universities. A core mission of the APLU is fostering

research and innovation, specifically by “promoting pathbreaking scientific research.” 1 The

association’s membership consists of over 200 research universities, land-grant institutions, and

affiliated organizations across the United States. Much of their scientific work is supported by

DOE grants.




1
    Association of Public and Land-Grant Universities, About Us, https://www.aplu.org/about-us/.



                                                       8
       Case 1:25-cv-10912-ADB            Document 1       Filed 04/14/25      Page 9 of 41




       15.     Plaintiff American Council on Education (“ACE”) is a nonprofit association

composed of more than 1,600 colleges, universities, and higher education-related associations,

organizations, and corporations with the goal of enabling higher education institutions to flourish.

ACE’s member organizations are accredited, degree-granting colleges and universities, as well

as related associations, organizations, and corporations that also serve as world-renowned centers

of scientific technological research and innovation. Much of their scientific work is supported

by DOE grants.

       16.     Plaintiff Brown University (“Brown”) is a private university located in

Providence, Rhode Island. Brown conducts fundamental and applied research directed at the

forefront of DOE priorities, including research critical to the nation’s current and future energy

needs and security. DOE’s planned cap of 15% for indirect cost expenditures would result in an

over two-million-dollar loss annually to Brown’s planned research budget.

       17.     Plaintiff California Institute of Technology (“Caltech”) is a private university

located in Pasadena, California. Caltech is a world-class science and engineering institute that

has long been at the vanguard of technological innovation. Caltech receives substantial annual

funding from DOE and currently has 83 active DOE awards and subawards. In fiscal year 2024,

Caltech expended more than $25 million in conducting research supported by DOE, with almost

$8 million expended as indirect costs. If the indirect cost rate is reduced to 15% of modified total

direct costs, that would reduce the Caltech’s annual indirect cost recovery by nearly $6 million.

       18.     Plaintiff Cornell University (“Cornell”) is a private university located in Ithaca,

New York. Cornell is a leading research institution that has been selected by the federal

government to conduct a wide variety of vital forms of research on behalf of United States

citizens, funded in part by agency awards, cooperative agreements, and contracts from across the
       Case 1:25-cv-10912-ADB          Document 1        Filed 04/14/25      Page 10 of 41




federal government, including DOE. In fiscal year 2024, Cornell expended approximately $30

million on more than 110 awards from DOE. Cornell’s indirect cost rate, as negotiated with the

federal government, allowed Cornell to recover approximately $8.5 million in reimbursement for

those costs from DOE. Cornell’s ability to conduct DOE-sponsored research during fiscal year

2025 would be significantly impaired by the reduction in the indirect cost reimbursement,

estimated as a shortfall of roughly $8 million in a typical fiscal year.

       19.     Plaintiff Board of Trustees of the University of Illinois (“Illinois”) is a public

university with its flagship campus in Urbana-Champaign, Illinois. Illinois is a leading land-

grant research university and one of the largest recipients of DOE funding, having received over

$122 million in fiscal year 2024. Since Illinois’s negotiated indirect cost rate is 58.6%, Illinois

would lose substantial dollars if its predetermined indirect cost rate were reduced to 15%.

       20.     Plaintiff Massachusetts Institute of Technology (“MIT”) is a private university

located in Cambridge, Massachusetts. Founded to accelerate the nation’s industrial revolution,

MIT faculty, researchers, and graduates have invented fundamental technologies, launched new

industries, and advanced human understanding of science, technology, and other areas of

scholarship. MIT received $93 million from the DOE in MIT’s fiscal year 2024 for performing

sponsored research. MIT conducts research under 286 direct and indirect funding awards from

DOE that are currently active for its fiscal year 2025. If DOE reduces the indirect costs rate to

15%, then MIT forecasts it will lose approximately $15 million to $16 million in reimbursement

for costs that support DOE research over the next 12 months alone.

       21.     Plaintiff Regents of the University of Michigan (“Michigan”) is a public university

located in Ann Arbor, Michigan. It receives substantial annual funding from DOE, which

supports critical and cutting-edge research, including Michigan’s nuclear research program,




                                                10
       Case 1:25-cv-10912-ADB            Document 1        Filed 04/14/25      Page 11 of 41




advanced battery technologies, and next-generation engine and fuel technologies. Of the $81.8

million in DOE funding that the University received in fiscal year 2024, approximately $56.1

million was allocated for direct costs and $25.7 million for indirect costs. Similarly, in fiscal year

2025, the University expects to receive $61.8 million in DOE funding for direct costs, while $28.3

million is allocated for indirect costs. And over the next five years, the University anticipates

receiving an average of $75.8 million from the DOE for annual direct costs. Based on the

predetermined indirect cost rate of 56%, which was agreed upon by the federal government as of

July 1, 2024, the University thus expects to receive approximately $42.4 million in indirect cost

recovery on an annual basis. If—contrary to what the University of Michigan has negotiated with

the federal government—the indirect cost rate is reduced to 15%, that would reduce the

University’s anticipated annual indirect cost recovery by $31.1 million, to $11.4 million.

       22.     Plaintiff Board of Trustees of Michigan State University (“MSU”) is a public

university located in East Lansing, Michigan. MSU was the first land-grant university established

under the Morrill Act and today is a leading global public research university. Of the $161 million

in DOE funding that MSU received for fiscal year 2024, approximately $116 million was for

direct costs and about $45 million was for indirect costs reimbursements. Based on the

predetermined indirect cost rate of 57%, which was agreed upon by the federal government, MSU

expects to receive approximately $45 million in indirect cost recovery on an annual basis from

DOE. If the indirect cost rate is reduced to 15%, that would reduce MSU’s anticipated annual

indirect cost recovery by approximately $32 million.

       23.     Plaintiff Trustees of Princeton University (“Princeton”) is a private university

located in Princeton, New Jersey. Princeton is a world-class research institution that aims to unite

people, resources, and opportunities for the creation, preservation, and transmission of knowledge
       Case 1:25-cv-10912-ADB          Document 1        Filed 04/14/25      Page 12 of 41




for the benefit of the nation and humanity. Princeton has 112 DOE awards and subawards and

intends to apply for additional research funding this year. In fiscal year 2024, Princeton expended

approximately $32.6 million in conducting such research supported by DOE. Of this total,

approximately $10 million were expended as indirect costs to support needs such as the

infrastructure, research administration, compliance, and security expenses required to conduct

the funded research. Princeton’s negotiated on-campus indirect cost rate for fiscal year 2024 is

62%. Princeton would therefore lose substantial dollars if Princeton’s predetermined indirect

cost rate were reduced to 15%.

       24.     Plaintiff University of Rochester (“Rochester”) is a private university located in

Rochester, New York. Rochester conducts groundbreaking research in a wide variety of fields,

including fusion energy, quantum computer, and theoretical and experimental elementary particle

physics. The University’s Laboratory for Laser Energetics (“LLE”) is the nation’s leading

university-based research center in fusion, laser science and technology, and high-energy-density

science research, and operates two of the largest and most-capable government-owned lasers at

any academic institution in the world. Rochester’s negotiated indirect cost rate through fiscal

year 2026-2027 is 51%. DOE’s planned cap of 15% for indirect cost expenditures would result

in an indirect cost recovery loss to Rochester of greater than $25 million.

       25.     Defendant Department of Energy (“DOE”) is an executive department of the

federal government that is responsible for coordinating national energy policy and supporting

energy research and development to advance American energy, economic, and national security.

       26.     Defendant Chris Wright is Secretary of DOE. He is sued in his official capacity.




                                                12
       Case 1:25-cv-10912-ADB           Document 1       Filed 04/14/25      Page 13 of 41




                                  FACTUAL BACKGROUND

    A. Indirect Cost System Structure

       27.     For decades, DOE-funded research at universities has made the United States a

world leader in science.     The federal government awards billions of dollars to research

universities that can most effectively further DOE’s goals. In fiscal year 2023, DOE awarded

more than $2.6 billion to nearly 400 different universities.

       28.     DOE grants have funded scientific research that has led to innumerable scientific

breakthroughs, including the discovery of the Higgs particle. Dozens of DOE-supported

scientists have earned Nobel Prizes for their groundbreaking scientific work. 2

       29.     Most DOE-funded research occurs at outside institutions, including universities.

This approach allows DOE to fund a wide array of institutions, promote competition for research

grants, and facilitate the training of the next generation of researchers.

       30.     DOE pursues its research goals by funding the critical scientific research of the

organizational Plaintiffs’ member universities and the university Plaintiffs. At any given time,

individual research universities often depend on myriad of DOE grants that support independent

research projects across multiple university departments and centers.

       31.     These DOE grants are issued pursuant to a well-established legislative and

regulatory framework. Congress has authorized DOE to provide for grants under various statutes,

and it has directed agencies to use indirect cost rates. See 41 U.S.C. § 4708. Congress also

instructed OMB to issue general guidance on fiscal administration issues. See 31 U.S.C. § 503(a),

(b)(2)(C) (empowering OMB to “establish governmentwide financial management policies for

executive agencies,” including as to “grant[s]”). In turn, OMB has established uniform guidance


2
 DOE, DOE Nobel Laureates, https://science.osti.gov/About/Honors-and-Awards/DOE-Nobel-Laureates (last
visited Apr. 14, 2025).
       Case 1:25-cv-10912-ADB          Document 1        Filed 04/14/25      Page 14 of 41




for agencies to administer grants under the agencies’ purview. See 2 C.F.R. pt. 200 (setting forth

“Uniform Administrative Requirements, Cost Principles, and Audit Requirements for Federal

Awards”). DOE has expressly adopted OMB’s guidance into its own regulations. See 2 C.F.R.

§ 910.120 (adopting OMB guidance in 2 C.F.R. pt. 200).

       32.     As provided by regulation, DOE’s competitive grantmaking process begins with

a notice of funding opportunities for a specific topic followed by new application submissions.

See 2 C.F.R. § 200.204.

       33.     After a formal review process that includes peer review, the DOE issues a legally

binding Notice of Award (“NOA”) to selected grant recipients stating that funds may be requested

(i.e., drawn down) from the agency. See 2 C.F.R. § 200.211(b)(7) (establishing that the award

must include the “[a]mount of [f]ederal [f]unds [o]bligated by this action”). An NOA is issued

for the initial budget period and each subsequent budget period, and it reflects any future-year

understandings about the continuation of the funded project. See 2 C.F.R. § 200.211(c)(1)(iv).

       34.     Federal grant recipients generally do not receive lump-sum grants. Instead, they

use cost-based accounting systems under which they first incur expenses and then recover their

actual, documented costs for conducting research.

       35.     The costs of conducting DOE-funded research come in two types. The first is

“direct costs”—costs that can be attributed to a specific research project. For example, the salary

of a graduate student assigned to a particular research project, or the cost of a specialized piece

of equipment purchased for a research project is a direct cost.

       36.     The second is “indirect costs”—costs that are necessary for research but that

support multiple research projects. These costs have long been reimbursed as part of federal

grant funding: in 1962, Congress authorized the use of “predetermined fixed-percentage rates”




                                                14
       Case 1:25-cv-10912-ADB            Document 1        Filed 04/14/25      Page 15 of 41




for “payment of reimbursable indirect costs” attributable to research agreements with educational

institutions. Act of Sept. 5, 1962, Pub. L. No. 87-638, 76 Stat. 437, codified at 41 U.S.C. § 4708.

       37.     “[I]ndirect costs” are comprised of “[f]acilities” and “[a]dministration” costs. 2

C.F.R. § 200.414(a). The “[f]acilities” category is “defined as depreciation on buildings,

equipment and capital improvements, interest on debt associated with certain buildings,

equipment and capital improvements, and operations and maintenance expenses.” Id. This

category includes the costs of the physical infrastructure necessary for carrying out research, such

as construction and maintenance of buildings, including specialized facilities and laboratories.

Those costs are indirect because a single building, such as a state-of-the-art nuclear facility, might

house numerous research groups engaged in multiple distinct projects.

       38.     The “[a]dministration” category is defined as “general administration and general

expenses such as the director’s office, accounting, personnel, and all other types of expenditures

not listed specifically under one of the subcategories of ‘Facilities.”’ Id. This category includes

costs related to the administrative and compliance activities required to conduct federally

sponsored research, such as information technology professionals, experts on safety and security,

technical staff, and many others. These are indirect costs because a single employee or group of

employees will handle these necessary administrative activities across multiple DOE grants.

Because of caps on administrative costs, moreover, universities contribute a significant amount

of their own funds to cover such costs, thereby subsidizing the work funded by grants.

       39.     Federal regulations require research institutions to express their indirect costs as a

rate that is multiplied by the overhead-bearing direct costs of each individual research grant

associated with those costs. See Appendix III to Part 200—Indirect (F & A) Costs Identification

and Assignment, and Rate Determination for Institutions of Higher Education (IHEs). This
       Case 1:25-cv-10912-ADB             Document 1         Filed 04/14/25       Page 16 of 41




methodology ensures that indirect costs are allocated fairly across supported projects, with the

more expensive and resource-intensive research projects being allocated a larger share of indirect

costs. As a simplified example, suppose a single laboratory houses two research projects—one

with $75,000 of annual overhead-bearing direct costs and one with $25,000 of annual overhead-

bearing direct costs. Suppose, too, that the laboratory’s sole indirect cost is the cost of electricity,

which costs $10,000 per year. Because the cost of electricity ($10,000) is 10% of the overhead-

bearing direct costs ($100,000), the indirect cost rate would be 10%. Thus, $7,500 of electricity

costs would be allocated to the first project, and $2,500 of electricity costs would be allocated to

the second project.

        40.     Federal regulations prescribe a detailed methodology for negotiating indirect cost

rates. See Appendix III to Part 200. Typically, a single agency negotiates an indirect cost rate

with an institution. For universities, rates are generally negotiated by either “the Department of

Health and Human Services (HHS) or the Department of Defense’s Office of Naval Research

(DOD), normally depending on which of the two agencies (HHS or DOD) provide[d] more funds

to the [relevant] educational institution for the most recent three years.” 2 C.F.R. pt. 200, app.

III(C)(11)(a)(1).

        41.     That indirect cost rate then applies to all of that institution’s grants across the entire

federal government. Federal regulations require institutions to conduct and submit to their federal

agency comprehensive cost analyses that follow detailed federal cost accounting guidelines

governing reasonable and allowable indirect costs. For example, if an institution seeks to recover

the cost of building maintenance, it must document those costs and then allocate those

maintenance costs across research and non-research programs.




                                                   16
       Case 1:25-cv-10912-ADB           Document 1       Filed 04/14/25      Page 17 of 41




        42.    The federal agency then reviews and verifies these proposals and determines the

institution’s indirect cost rate. Again, this rate reflects actual, verified costs incurred by the

institution.

        43.    Once the federal agency agrees to an indirect cost rate, it binds the entire federal

government during the period that the negotiated rate is in effect. Typically, the negotiated rates

remain in effect for one year, although in some cases they remain in effect for up to four years.

        44.    After the costs are incurred, federal agencies conduct audits to ensure that the

negotiated indirect cost rate conforms to the actual indirect costs that were incurred. The indirect

cost rate can be adjusted if the audit establishes that the institution has recovered excess costs.

        45.    DOE is required to use that negotiated indirect cost rate unless a deviation

therefrom “for either a class of Federal awards or a single Federal award” is “required by Federal

statute or regulation” or is “approved by the awarding Federal agency in accordance with [2

C.F.R. § 200.414(c)(3)].” 2 C.F.R. § 200.414(c)(1).

        46.    The cross-referenced provision, 2 C.F.R. § 200.414(c)(3), in turn makes clear that

the negotiated rates remain the baseline and that it authorizes only specific “deviations” for

individual awards or classes of awards when specified criteria are met. In particular, that

provision specifies that “[t]he Federal agency must implement, and make publicly available, the

policies, procedures and general decision-making criteria that their programs will follow to seek

and justify deviations from negotiated rates.” 2 C.F.R. § 200.414(c)(3).

        47.    The policies, procedures, and general decision-making criteria justifying

deviations apply prospectively. Pursuant to 2 C.F.R. § 200.414(c)(4), “[t]he Federal agency must

include, in the notice of funding opportunity, the policies relating to indirect cost rate

reimbursement or cost share as approved.” Moreover, “the Federal agency should incorporate
       Case 1:25-cv-10912-ADB             Document 1         Filed 04/14/25        Page 18 of 41




discussion of these policies into its outreach activities with applicants before posting a notice of

funding opportunity.” Id.

        48.       Negotiated rates vary significantly from institution to institution. The primary

reason for this variation is that different institutions conduct different types of research. Scientific

laboratories tend to be far more expensive to build and maintain than generic office buildings.

As such, an institution engaging in cutting-edge nuclear will likely have a higher indirect cost

rate than an institution primarily engaged in social science research. Even in the context of

scientific research, some types of research are more expensive than others. If a particular

institution invests in an expensive piece of advanced lab equipment that supports multiple lines

of research, that institution will have higher indirect cost rates than a different institution that

does not use expensive lab equipment or uses such equipment for only one research project.

        49.       Institutions with higher-than-average negotiated indirect cost rates are typically

those that support facility-intensive types of research. State of the art nuclear and energy

research, for example, often requires higher indirect cost rates.

        50.       Past studies show that indirect cost rates for university research are slightly less

than those for other research performers, i.e., that universities had the lowest percentage of total

research costs classified as indirect costs as compared to federal laboratories and industrial

laboratories. 3




3
 Association of American Universities, Frequently Asked Questions About Facilities And Administrative (F&A)
Costs of Federally Sponsored University Research (Feb. 10, 2025), https://www.aau.edu/key-issues/frequently-
asked-questions-about-facilities-and-administrative-costs.



                                                    18
       Case 1:25-cv-10912-ADB            Document 1        Filed 04/14/25      Page 19 of 41




    B. Prior Attempts to Limit Indirect Cost Rates.

       51.      In 2017, the Administration released a budget proposal that would have slashed

the indirect cost rate for NIH grants to 10%. See Office of Management & Budget, Major Savings

and Reforms: Budget of the U.S. Government Fiscal Year 2018, at 43 (2017).

       52.      The proposal spurred widespread criticism and alarm. The House Subcommittee

on Labor, Health and Human Services, and Education of the Committee on Appropriations held

a two-hour long hearing discussing concerns, on a bipartisan basis, relating to the proposed cap

on indirect costs. Hearing on the Role of Facilities and Administrative Costs in Supporting NIH-

Funded Research Before the Subcomm. on Labor, Health and Human Services, Education, and

Related Agencies of the H. Comm. On Appropriations, 115th Con. (2017), available at:

https://www.youtube.com/watch?v=R3Eb7CjsjRE.

       53.      Congress then enacted, on a bipartisan basis, an appropriations rider providing

that regulatory “provisions relating to indirect costs . . . including with respect to the approval of

deviations from negotiated rates, shall continue to apply to the National Institutes of Health to

the same extent and in the same manner as such provisions were applied in the third quarter of

fiscal year 2017.” Consolidated Appropriations Act, 2018, Pub. L. No. 115-141, § 226, 132 Stat.

348, 740. The appropriations rider also prohibits spending appropriated funds “to develop or

implement a modified approach to” the reimbursement of “indirect costs” and “deviations from

negotiated rates,” or to “intentionally or substantially expand the fiscal effect of the approval of

such deviations from negotiated rates beyond the proportional effect of such approvals in such

quarter.” Id.

       54.      Both the House and Senate Appropriations Committees specifically addressed the

need for the rider in direct response to the Administration’s proposal in their respective reports.
       Case 1:25-cv-10912-ADB          Document 1       Filed 04/14/25      Page 20 of 41




The House Report noted that, “[w]hile the Committee appreciates the Secretary’s efforts to find

efficiencies in NIH research spending, the Administration’s proposal to dramatically reduce and

cap reimbursement of facilities and administrative (F&A) costs to research institutions is

misguided and would have a devastating impact on biomedical research across the country.” H.R.

Rep. No. 115-244, at 50 (2017). The Senate Report noted, “[t]he methodology for negotiating

indirect costs has been in place since 1965, and rates have remained largely stable across NIH

grantees for decades. The Administration’s proposal would radically change the nature of the

Federal Government’s relationship with the research community, abandoning the Government’s

long-established responsibility for underwriting much of the Nation’s research infrastructure, and

jeopardizing biomedical research nationwide. The Committee has not seen any details of the

proposal that might explain how it could be accomplished without throwing research programs

across the country into disarray.” S. Rep. No. 115-150, at 109 (2017).

       55.     Congress not only adopted the rider in 2017; it has repeatedly reenacted the rider

ever since. See Department of Health and Human Services Appropriations Act, 2019, Pub. L.

No. 115-245, § 224, 132 Stat. 2981, 3094; Further Consolidated Appropriations Act, 2020, Pub.

L. No. 116-94, § 224, 133 Stat. 2534, 2582; Consolidated Appropriations Act, 2021, Pub. L. No.

116-260, § 224, 134 Stat. 1182, 1594; Consolidated Appropriations Act, 2022, Pub. L. No. 117-

103, § 224, 136 Stat. 49, 470-71; Consolidated Appropriations Act, 2023, Pub. L. No. 117-328,

§ 224, 136 Stat. 4459, 4883-84. And this rider remains in effect to this day, in the now-operative

statute. See Further Consolidated Appropriations Act, 2024, Pub. L. No. 118-47, div. D, tit. II,

§ 224, 138 Stat. 460, 677.

       56.     The appropriations riders were co-extensive with the proposed rate cap. To

Plaintiffs’ knowledge, no Administration has proposed a budget that would cap the indirect cost




                                                20
       Case 1:25-cv-10912-ADB            Document 1        Filed 04/14/25      Page 21 of 41




rate for DOE grants at a fixed percentage, like 10 or 15%. Congress therefore has yet to adopt

an analogous appropriations rider for DOE grants.

       57.     In light of both the applicable regulations and the rider, the negotiated NIH

indirect cost rates remained undisturbed until late on Friday, February 7, 2025, when NIH issued

a Supplemental Guidance to the 2024 NIH Grants Policy Statement: Indirect Cost Rates (“NIH

Rate Change Notice”). NIH purported to slash and cap previously negotiated indirect cost rates

on all existing and future grant awards for biomedical research, with an effective date of February

10, 2025.

       58.     Given the dire consequences of the NIH Rate Change Notice, which would have

dramatically disrupted the development of innovative medical research and treatment, three sets

of plaintiffs—a group of 22 states, a group of five medical associations, and a group of 17

associations and universities, including many of the plaintiffs in this case—filed complaints and

motions for temporary restraining orders. All three plaintiff groups argued that the NIH Rate

Change Notice was unlawful under the APA.

       59.     The Court found that the serious consequences of the NIH Rate Change Notice

warranted issuance of a nationwide temporary restraining order to maintain the status quo until

the matter could be fully addressed by the Court. Following briefing, on March 5, 2025, the

Court issued a nationwide preliminary injunction. NIH, 2025 WL 702163, at *1. After finding

jurisdiction appropriate because the parties sought to vindicate rights rooted in federal statutes

and regulations and sought relief that was injunctive in nature, the Court found the plaintiffs likely

to succeed on the merits. See id. at *4–8. First, the Court found that the NIH Rate Change Notice

violated applicable regulations, which barred deviation from negotiated rates without a

documented justification, and more generally barred wholesale deviation from negotiated rates
       Case 1:25-cv-10912-ADB          Document 1        Filed 04/14/25      Page 22 of 41




in the fashion attempted by NIH. See id. at *10–11. The Court also found that plaintiffs were

likely to succeed on their statutory claims that the NIH Rate Change Notice violated the

appropriations rider and the APA. See id. at *11–16. In particular, the Court found that the NIH

Rate Change Notice was arbitrary and capricious because the explanations provided for the rate

change were “conclusory” and its “proffered ‘reasons’ fail[ed] to grapple with the relevant factors

or pertinent aspects of the problem.” Id. at *17–18. Furthermore, it found that the NIH Rate

Change Notice failed to “recognize or consider the substantial reliance interests at issue.” Id. at

*19; see id. at *20 (“The Notice fails to contemplate the budgets of these institutions, formulated

months and years before this Notice’s sudden implementation. It fails to contemplate the risk to

human life as research and clinical trials are suspended in response to the shortfall. It fails to

contemplate the life, careers, and advancement that will be lost as these budgets are

indiscriminately slashed.”). The Court also found the plaintiffs were likely to succeed on their

claims that NIH failed to follow notice-and-comment rulemaking procedures and enacted a policy

that was impermissibly retroactive as to existing grants. See id. at *22–27. The Court then found

that that the plaintiffs demonstrated irreparable harm and that the balance of the equities and

public interest favored an injunction. See id. at *27–32. The Court enjoined the NIH Rate Change

Notice on a nationwide basis. See id. at *35. The parties then jointly moved to convert the

preliminary injunction to a permanent injunction. See NIH, No. 25-CV-10338 (D. Mass. Apr. 4,

2025), ECF No. 96. The government has not filed a motion to stay the injunction pending an

appeal.

   C. DOE’s Rate Cap Policy

          60.   On Friday, April 11, 2025, the DOE issued the Rate Cap Policy, titled “Adjusting

Department of Energy Grant Policy for Institutions of Higher Education (IHE).” The Rate Cap




                                                22
       Case 1:25-cv-10912-ADB           Document 1       Filed 04/14/25      Page 23 of 41




Policy announces that the “hereinafter, the Department will no longer use the negotiated indirect

cost rate for grants awarded to IHEs. Instead, it is setting a standardized 15 percent indirect cost

rate for all grant awards to IHEs.” The Rate Cap Policy provides that “[a]ll future Department

grant awards to IHEs will default to this 15 percent indirect cost rate.” The Rate Cap Policy

further announces that, “[c]onsistent with [the Rate Cap Policy], the Department is undertaking

action to terminate all grant awards to IHEs that do not conform with this updated policy” (citing

2 C.F.R. § 200.340(a), (b)).

       61.       The Rate Cap Policy justifies this sweeping change by stating that “[t]his system

will better balance the Department’s twin aims of funding meaningful research and upholding its

fiduciary duties to the American people.” It also states the following as putative justification:

“To improve efficiency and curtail costs where appropriate, the Department seeks to better

balance the financial needs of grant recipients with the Department’s obligation to responsibly

manage federal funds.” It further states that indirect costs payments are “not for the Department’s

direct research funding” (citing 89 Fed. Reg. 30046-30093), while acknowledging that “many

grant recipients use indirect cost payments to effectuate research funded by the Department’s

grant awards.”

       62.       The Rate Cap Policy purports to rely on the authority of 2 C.F.R. § 200.414(c)(1)

for its setting of a single, uniform indirect cost rate of 15 percent for all institutions of higher

education. But that provision authorizes deviations from the negotiated indirect cost rates only

for “either a class of Federal awards or a single Federal award” and “only when required by

Federal statute or regulation, or when approved by the awarding Federal agency in accordance

with [2 C.F.R. § 414(c)(3)].” 2 C.F.R. § 200.414(c)(1) (emphasis added). It does not authorize

DOE to entirely eliminate the negotiated rate for all federal awards for institutions of higher
       Case 1:25-cv-10912-ADB          Document 1        Filed 04/14/25      Page 24 of 41




education. Moreover, to deviate from a negotiated rate—absent a statutory or regulatory

requirement to do so—DOE must comply with the requirement that the agency “implement, and

make publicly available, the policies, procedures and general decision-making criteria that their

programs will follow to seek and justify deviations from negotiated rates.” 2 C.F.R.

§ 200.414(c)(3). In addition, pursuant to the regulatory provision that immediately follows, DOE

“must include” such “policies relating to indirect cost rate reimbursement” “in the notice of

funding opportunity.” 2 C.F.R. § 200.414(c)(4).

       63.     The Rate Cap Policy is final agency action under the APA. See 5 U.S.C. § 704.

The Rate Cap Policy (1) “mark[s] the consummation of the agency’s decisionmaking process”

and (2) is action “by which rights or obligations have been determined, or from which legal

consequences will flow.” Bennett v. Spear, 520 U.S. 154, 178 (1997) (internal quotation marks

omitted). In particular, the Rate Cap Policy marks the consummation of DOE’s decision-making

process because it announces DOE’s decision to immediately impose a 15% across-the-board

indirect cost rate to institutions of higher education and to terminate grants that use a different

rate. And the Rate Cap Policy is an action by which rights or obligations have been determined

or from which legal consequences will flow because it purports to limit the percent of indirect

costs for which a grant recipient can be reimbursed under the grant.

   D. Plaintiffs’ Prior Indirect Cost Funding and Plaintiffs’ Injuries

       64.     Plaintiffs are attaching as exhibits to this Complaint declarations describing

universities’ DOE grants and the harms they face, which Plaintiffs incorporate here by reference.




                                                24
       Case 1:25-cv-10912-ADB          Document 1        Filed 04/14/25      Page 25 of 41




                                     CLAIMS FOR RELIEF

                                             Count I

                Violation of Administrative Procedure Act—Contrary to Law

     (Illegal Departure from Negotiated Cost Rates in Violation of 2 C.F.R. 200.414)

          65.   All of the foregoing allegations are repeated and realleged as if fully set forth

herein.

          66.   The APA directs courts to hold unlawful and set aside agency actions that are not

in accordance with law. 5 U.S.C. § 706(2)(A).

          67.   2 C.F.R. § 200.414(c)(1) states that negotiated indirect cost rates “must be

accepted by all Federal agencies. A Federal agency may use a rate different from the negotiated

rate for either a class of Federal awards or a single Federal award only when required by Federal

statute or regulation, or when approved by the awarding Federal agency in accordance with

paragraph (c)(3) of this section.”

          68.   In turn, 2 C.F.R. § 200.414(c)(3) states: “The Federal agency must implement, and

make publicly available, the policies, procedures and general decision-making criteria that their

programs will follow to seek and justify deviations from negotiated rates.”

          69.   By pronouncing a single, uniform “policy” setting indirect cost rates for

universities at 15% regardless of the otherwise applicable negotiated rate, DOE violated 2 C.F.R.

§ 200.414(c)(1) and (c)(3).

          70.   These provisions authorize agencies to announce procedures governing

subsequent decisions to make individualized deviations from the baseline negotiated rate. They

do not authorize DOE to make a unilateral decision to wipe out all negotiated rates for all

universities. The plain text of 2 C.F.R. § 200.414(c)(3) requires agencies to enact three different
       Case 1:25-cv-10912-ADB             Document 1        Filed 04/14/25     Page 26 of 41




things—“policies, procedures, and general decision-making criteria,” and then requires agencies

to “follow” these tripartite requirements “to seek and justify deviations from negotiated rights.”

        71.     Here, while the Rate Cap Policy states that it “sets forth [DOE’s] policies,

procedures, and general decision-making criteria,” the Rate Cap Policy establishes no

“procedures.” A “procedure” is a “series of steps followed in a regular definite order.”

Procedure, M-W.com, https://www.merriam-webster.com/dictionary/procedure (last visited

Apr. 14, 2025). A categorical 15% dictate is not a procedure. Nor does the Rate Cap Policy

establish “general decision-making criteria.” Criteria are “standard[s] on which a judgment or

decision      may      be       based.”        Criterion,     M-W.com,        https://www.merriam-

webster.com/dictionary/criterion (last visited Apr. 14, 2025). Again, a categorical 15% dictate is

not “general . . . criteria.”

        72.     Moreover, the plain text of this provision states that DOE will follow those

policies, procedures, and criteria to seek and justify deviations. In other words: first the policies,

procedures, and criteria will be enacted, and then DOE will use them to seek and justify deviations

from the negotiated baseline. DOE skipped the first step: it never enacted any policies,

procedures, or criteria that it would subsequently rely upon to “seek” or “justify” changes to the

baseline. It just set rates at 15% for all universities.

        73.     Reinforcing the point, Section 200.414(c)(3) authorizes “deviations” from

negotiated rates.     A “deviation” is a “departure from a standard or norm.”             Deviation,

Dictionary.com, https://www.dictionary.com/browse/deviation (last visited Apr. 14, 2025). And

authority to provide for “deviations” does not empower DOE to eliminate the standard use of

negotiated rates across broad swathes of institutions; rather, negotiated rates must remain the

norm, with deviations just narrow exceptions. Cf. MCI Telecomms. Corp. v. Am. Tel. & Tel. Co.,




                                                  26
       Case 1:25-cv-10912-ADB           Document 1       Filed 04/14/25      Page 27 of 41




512 U.S. 218, 228–29 (1994) (holding that statutory authority to “modify” a requirement “does

not contemplate fundamental changes”); Biden v. Nebraska, 143 S. Ct. 2355, 2368 (2023)

(similar).

          74.   The Rate Cap Policy also violates Section 200.414(f). That provision states that

recipients that do not have a negotiated indirect cost rate “may elect to charge a de minimis rate

of up to 15 percent.” The provision then states that “[r]ecipients and subrecipients are not

required to use the de minimis rate.” The Rate Cap Policy violates this provision by “setting a

standardized 15 percent indirect cost rate for all grant awards to IHEs.” Accord 89 Fed. Reg.

30,046 (April 22, 2024) (“Other sections of the guidance adequately explain that recipients and

subrecipients have a right to negotiate a rate, rather than using the de minimis rate.”).

                                             Count II

                Violation of Administrative Procedure Act—Contrary to Law

(Unlawful Termination of Existing Grants in Violation of 2 C.F.R. 200.340, 200.414(c), and
                                     Appendix III)

          75.   All of the foregoing allegations are repeated and realleged as if fully set forth

herein.

          76.   The APA directs courts to hold unlawful and set aside agency actions that are not

in accordance with law. 5 U.S.C. § 706(2)(A).

          77.   Under 2 C.F.R. § 200.340(a), agencies may terminate grants on enumerated

grounds: “if the recipient or subrecipient fails to comply with the terms and conditions of the

Federal award,” id. § 200.340(a)(1); “with the consent of the recipient,” id. § 200.340(a)(2); or

“pursuant to the terms and conditions of the Federal award, including, to the extent authorized by

law, if an award no longer effectuates the program goals or agency priorities,” id. § 200.340(a)(4).
       Case 1:25-cv-10912-ADB            Document 1        Filed 04/14/25      Page 28 of 41




       78.     Citing this regulation, the Rate Cap Policy states that DOE will “terminate all

grant awards to IHEs that do not conform with” its 15% cap.

       79.     None of the enumerated grounds, however, permit agencies to terminate grants on

the ground that the agencies would prefer to use a different indirect cost rates. In particular, while

the regulation in some circumstances permits terminations “if an award no longer effectuates the

program goals or agency priorities,” the Rate Cap Policy does not conclude that any “award[s]”

no longer effectuate DOE’s priorities. A desire to use a different indirect cost rate does not mean

that the “award” no longer effectuates DOE priorities.

       80.     Terminating existing grants based on the Rate Cap Policy would also violate 2

C.F.R. § 200.414(c)(4), which states: “The Federal agency must include, in the notice of funding

opportunity, the policies relating to indirect cost rate reimbursement or cost share as approved

under paragraph (e).” The Federal Register notice promulgating this provision makes clear that

any attempt to depart from negotiated rates must first be “established” and then “inclu[ded] . . .

in the announcement of funding opportunity.” 78 Fed. Reg. 78,590, 78,600 (Dec. 26, 2013).

Moreover, this provision underscores why Section 200.340(a) cannot provide the authority that

the Rate Cap Policy claims: On the Rate Cap Policy’s reading, this provision’s limits would be

meaningless.     Agencies could simply terminate existing grants and thereby evade the

requirements of Section 200.414(c)(4).

       81.       Section C.7.a of Appendix III to Part 200, which provides rules for calculating

indirect cost rates, confirms the unlawfulness of the Rate Cap Policy’s termination directive. That

provision states in relevant part: “Except as provided in paragraph (c)(1) of § 200.414, Federal

agencies must use the negotiated rates in effect at the time of the initial award throughout the life

of the Federal award. Award levels for Federal awards may not be adjusted in future years as a




                                                  28
      Case 1:25-cv-10912-ADB           Document 1       Filed 04/14/25     Page 29 of 41




result of changes in negotiated rates.” As this language reflects, the general rule is that the

government-wide negotiated rate for a particular grantee that is in effect at the beginning of an

award applies throughout the life of the award, even if that government-wide negotiated rate is

renegotiated by a cognizant agency during the life of the award. The “except[ion]” is when a

different rate from the government-wide negotiated rate is set via the procedures in

§ 200.414(c)(1). Moreover, under Section 200.414(c), a change to the policies, procedures, and

criteria governing the justification for deviations—which is what the Rate Cap Policy purports to

do—must occur when the grant is being negotiated, not in the middle of an existing grant. Section

C.7.a does not authorize a change for awards that DOE has already approved and upon which a

grantee has already relied. And Section 200.340(a)’s termination authority cannot be read to

render a nullity the protections of Section C.7.a of Appendix III to Part 200.

                                            Count III

                Violation of Administrative Procedure Act—Contrary to Law

                     (Illegal Departure from Cost Recovery Regulations)

          82.   All of the foregoing allegations are repeated and realleged as if fully set forth

herein.

          83.   The APA directs courts to hold unlawful and set aside agency actions that are not

in accordance with law. 5 U.S.C. § 706(2)(A).

          84.   Federal regulations and decades of Executive Branch practice establish

substantive and procedural guidelines governing the recovery of indirect costs, which DOE’s

Rate Cap Policy blatantly violates.

          85.   Substantively, the governing regulations dictate that grantees will recover the

actual indirect costs that are reasonable and allocable to federal projects.
       Case 1:25-cv-10912-ADB            Document 1       Filed 04/14/25      Page 30 of 41




              a. The bedrock principle is: “The total cost of a Federal award is the sum of the

                 allowable direct and allocable indirect costs minus any applicable credits.” 2

                 C.F.R. § 200.402.

              b. The regulations establish detailed guidelines designed to ensure that grantees

                 recover their actual allocable indirect costs. See generally 2 C.F.R. § 200.414;

                 accord Appendix III.A (“Indirect (F&A) costs are those that are incurred for

                 common or joint objectives and therefore cannot be identified readily and

                 specifically with a particular sponsored project, an instructional activity, or any

                 other institutional activity”); id. Appendix III.A.2.e.1 (“Indirect (F&A) costs are

                 the broad categories of costs discussed in Section B.1.”).

        86.      By slashing indirect cost rates to 15%, DOE will prevent grantees from recovering

their indirect costs.

        87.      DOE’s Rate Cap Policy does not even purport to adhere to the principle that

grantees should recover their indirect costs. Instead, it assigns an arbitrary 15% indirect cost

recovery rate across all universities simply because DOE has unilaterally decided that universities

should be getting less money.

        88.      Procedurally, federal regulations prescribe a complex process for negotiating an

indirect cost recovery rate.

              a. Institutions must document and submit costs in painstaking detail to support that

                 process. Subpart E of part 200 of Title 2 “establishes principles for determining

                 allowable costs incurred by recipients and subrecipients under Federal awards.” 2

                 C.F.R. § 200.100(c). 2 C.F.R. § 200.414(e) stipulates that a set of appendices will

                 set forth in detail “[r]equirements for development and submission of indirect cost




                                                  30
Case 1:25-cv-10912-ADB        Document 1        Filed 04/14/25      Page 31 of 41




      rate proposals and cost allocation plans.”       Those appendices contain “the

      documentation prepared by a recipient to substantiate its request to establish an

      indirect cost rate.” 2 C.F.R. § 200.1 (definition of “Indirect cost rate proposal”).

      For universities, Appendix III to Part 200 establishes the criteria for identifying

      and computing indirect facilities and administration costs for Institutions of

      Higher Education (IHEs).       Id. § 200.414(e)(1). The Appendix details the

      processes for a grant recipient to document a significant range of costs and how

      those costs should be allocated among multiple government projects.

   b. Audits are the mechanism then used to determine what is charged to a federal

      award. 2 C.F.R. § 200.501(b) requires that a “non-Federal entity that expends

      $1,000,000 or more in Federal awards during the non-Federal entity’s fiscal year

      must have a single audit conducted in accordance with § 200.514,” except if it

      elects to have a program-specific audit. This audit is performed annually, and it

      must be conducted in accordance with articulated standards. See 2 C.F.R.

      §§ 200.504, 200.514. An auditor may identify any “questioned cost,” which is

      defined as “an amount, expended or received from a Federal award, that in the

      auditor’s judgment:” (1) “[i]s noncompliant or suspected noncompliant with

      Federal statutes, regulations, or the terms and conditions of the Federal award;”

      (2) “[a]t the time of the audit, lacked adequate documentation to support

      compliance;” or (3) “[a]ppeared unreasonable and did not reflect the actions a

      prudent person would take in the circumstances.” 2 C.F.R. § 200.1 (definition of

      “Questioned cost”). The results of the audit and any questioned costs are factored

      into negotiation of indirect cost rates. See Appendix III to Part 200.
       Case 1:25-cv-10912-ADB           Document 1        Filed 04/14/25      Page 32 of 41




          89.   DOE ignored that detailed process. Instead, it arbitrarily determined that all

universities would recover at a 15% rate, violating the regulations’ substantive commands and

rendering that entire regulatory process meaningless.

                                             Count IV

          Violation of the Administrative Procedure Act – Arbitrary and Capricious

          90.   All of the foregoing allegations are repeated and realleged as if fully set forth

herein.

          91.   The APA provides that courts “shall . . . hold unlawful and set aside agency action”

that is “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.” 5

U.S.C. § 706(2)(A).

          92.   The Rate Cap Policy is arbitrary and capricious for many reasons.

          93.   DOE’s justification consists of the following: “While the Department is cognizant

that many grant recipients use indirect cost payments to effectuate research funded by the

Department’s grant awards, these payments are not for the Department’s direct research funding.

See 89 Fed. Reg. 30046-30093. As these funds are entrusted to the Department by the American

people, the Department must ensure it is putting them to appropriate use on grant programs. To

improve efficiency and curtail costs where appropriate, the Department seeks to better balance

the financial needs of grant recipients with the Department’s obligation to responsibly manage

federal funds.”

          94.   First, this justification is entirely conclusory and violates DOE’s obligation “to

examine[] ‘the relevant data’ and articulate[] ‘a satisfactory explanation’ for [the] decision,

‘including a rational connection between the facts found and the choice made.’” Dep’t of

Commerce, 588 U.S. at 773 (quoting State Farm, 463 U.S. at 43). DOE denigrates “indirect cost




                                                 32
       Case 1:25-cv-10912-ADB           Document 1       Filed 04/14/25      Page 33 of 41




payments” as “not for the Department’s direct research funding.” But DOE ignores that indirect

costs are often necessary for DOE’s own research to continue: Cutting-edge research, for

example, requires physical infrastructure and equipment, ethics review boards, and many other

costs that are not traceable to specific grants but are nonetheless essential for the work. DOE also

ignores that indirect costs often differ from direct costs only in that they fund multiple research

projects: For example, if an administrative employee supports three DOE grants, one NIH grant,

and one private grant, their salary might be an indirect cost—but it would be essential for the

work on DOE’s grant, underscoring the irrationality of DOE’s suggestion that indirect cost

payments are less valuable than direct research funding. Then, DOE avers that it “must ensure it

is putting [the American people’s funds] to appropriate use on grant programs,” without

explaining why indirect costs are not an appropriate use. Next, DOE states that the Rate Cap

Policy will “improve efficiency and curtail costs where appropriate,” without explaining how

slashing indirect funding will improve efficiency and ignoring that the Rate Cap Policy will cut

funding across the board, not just “curtail[ing] costs where appropriate.” Finally, DOE says that

the Rate Cap Policy “seeks to better balance the financial needs of grant recipients with the

Department’s obligation to responsibly manage federal funds,” without explaining why

maintaining its decades-long approach to indirect costs is inconsistent with its obligation to

responsibly manage federal funds.

       95.     Second, the Rate Cap Policy is arbitrary and capricious because it reflects a new

policy resting upon factual findings that contradict those which underlay the prior policy of OMB

and DOE and that are also wrong. The prior policy rested on the view that a uniform indirect

cost rate was not appropriate, and that negotiated rates should be both institution-specific and—
       Case 1:25-cv-10912-ADB          Document 1       Filed 04/14/25      Page 34 of 41




in most cases—substantially higher. The Rate Cap Policy provides no explanation for this

reversal in course.

       96.     Moreover, DOE ignores what Congress itself said about a nearly identical

proposal to cap NIH indirect cost rates. According to the House of Representatives, “[t]he

Administration’s proposal to drastically reduce and cap reimbursement of facilities and

administrative (F&A) costs to research institutions is misguided and would have a devastating

impact on biomedical research across the country.” H.R. Rep. No. 115-244, at 50 (2017). And

according to the Senate, “[t]he methodology for negotiating indirect costs has been in place since

1965, and rates have remained largely stable . . . for decades. The Administration’s proposal

would radically change the nature of the Federal Government’s relationship with the research

community, abandoning the Government’s long-established responsibility for underwriting much

of the Nation’s research infrastructure, and jeopardizing biomedical research nationwide. The

Committee has not seen any details of the proposal that might explain how it could be

accomplished without throwing research programs across the country into disarray.” S. Rep. No.

115-150, at 109 (2017). What was true of biomedical research is just as true of the research

funded by DOE. And while the appropriations rider was co-extensive with the specific proposal

before it (cutting indirect cost rates for NIH grantees), DOE did not so much as consider the

reasons why Congress concluded that a virtually identical proposed categorical cap would be

devasting to research. Nor did those concerns merely lurk in the Congressional Record: Just a

month before the Rate Cap Policy issued, the NIH court had described those concerns at length.

       97.     Third, the Rate Cap Policy is arbitrary and capricious because it ignores obvious

problems with its categorical 15% cap, including how that cap will thwart DOE’s stated goals.

The press release accompanying Rate Cap Policy says that it “aim[s] at . . . continuing to expand




                                                34
       Case 1:25-cv-10912-ADB          Document 1       Filed 04/14/25      Page 35 of 41




American innovation and scientific research.” But DOE ignores, again, that indirect costs are

critical to supporting and maintaining world-class research. Nor does it consider that the across-

the-board 15% rate amounts to a decision to fund only part of the costs of research DOE supports,

and ultimately amounts simply to a decision to fund less research of particular types—including

research that relies heavily on expensive overhead, as cutting-edge research often does. DOE

does not explain how the Rate Cap Policy is consistent with its own stated goal of continuing to

promote American innovation and cutting edge research.

       98.     Fourth, Rate Cap Policy is arbitrary and capricious because DOE fails to explain

why its own audits of indirect costs would not accomplish the task of “improv[ing] efficiency

and curtail[ing] costs where appropriate.” To the contrary, because audits look at specific costs,

they can accomplish what DOE’s blunderbuss policy cannot—identifying specific costs that can

be appropriately curtailed.

       99.     Fifth, the Rate Cap Policy is arbitrary and capricious because it ignores the

reliance interests of the research institutions receiving federal funding and does not provide an

explanation that accounts for those reliance interests. As the press release accompanying the Rate

Cap Policy says, “the average rate of indirect costs incurred by grant recipients at colleges and

universities is more than 30%.” The Rate Cap Policy thus purports to slash indirect cost recovery

by at least half—and often much more. With regard to existing grants, the reliance interests are

obvious: budgets have already been determined and research benefitting from the funding has

already started. But even with respect to new grants, universities have structured their budgetary

affairs on the understanding that federal agencies will follow through by paying their legally

required cost reimbursement using the longstanding practice of using negotiated indirect costs

and rates. Universities have accordingly made costly decisions about long-term investments,
       Case 1:25-cv-10912-ADB            Document 1        Filed 04/14/25      Page 36 of 41




such as what physical infrastructure should be built, in reliance on negotiated rates with federal

agencies allowing for the recovery of some such costs via depreciation, as well as the OMB

regulations generally requiring agencies to use a negotiated indirect cost rate and permitting

deviations from that rate only in narrowly limited circumstances.

          100.   Sixth, the Rate Cap Policy is arbitrary and capricious because, without

explanation, it imposes its new categorical 15% cap only on universities, and not other DOE grant

recipients. If (counterfactually) this categorical cap improved efficiency or reflected responsible

stewardship of federal funds, DOE does not explain why it imposed that policy on only

universities. The press release accompanying the policy states that the average indirect cost rate

for universities is “a significantly higher rate than other for profit, non-profit and state and local

government grant awardees.” But DOE does not account for the possibility that universities’

rates are higher because they engage in a larger proportion of cutting-edge research, which

typically has higher indirect costs. Nor does DOE say what average indirect cost rates are for

“for profit, non-profit and state and local government grant awardees” or explain why, whatever

those percentages are, those institutions should not be subject to the same 15% cap.

          101.   Seventh, the Rate Cap Policy does not explain why the appropriate rate for all

university recipients is 15%. The governing regulations identify this amount as the “de minimis

rate.” 2 C.F.R. 200.414(f). A “de minimis rate” does not fit every university recipient.

                                              Count V

                 Violation of Administrative Procedure Act—Contrary to Law

                               (Violation of Authorizing Statutes)

          1.     All of the foregoing allegations are repeated and realleged as if fully set forth

herein.




                                                  36
       Case 1:25-cv-10912-ADB          Document 1       Filed 04/14/25      Page 37 of 41




       2.      The APA directs courts to hold unlawful and set aside agency actions that are not

in accordance with law. 5 U.S.C. § 706(2)(A).

       3.      DOE awards research grants pursuant to various statutes, and Congress has

authorized the use of “predetermined fixed-percentage rates” for “payment of reimbursable

indirect costs” attributable to research agreements with educational institutions. Act of Sept. 5,

1962, Pub. L. No. 87-638, 76 Stat. 437, codified at 41 U.S.C. § 4708.

       4.      The Rate Cap Policy violates these statutes because it does not set a rate for

“payment of reimbursable indirect costs” within the meaning of the statute. It simply adopts an

arbitrary 15% figure.

       5.      As alleged above, moreover, the Rate Cap Policy is likely to have devastating

effects across the country, not only on the research institutions themselves but also the many

people who depend on the research that will be crippled by the Rate Cap Policy. The Supreme

Court has underscored that agencies may not enact sweeping rules of this sort without express

congressional authorization. In considering whether agency action is authorized by statute, courts

consider whether the “history and breadth of the authority that [the agency] has asserted” and the

“economic and political significance of that assertion” counsel in favor of “hesitat[ing] before

concluding that Congress meant to confer such authority.” West Virginia v. EPA, 597 U.S. 697,

721 (2022) (internal quotation marks omitted) (quoting FDA v. Brown & Williamson Tobacco

Corp., 529 U.S. 120, 159–60 (2000)). Here, no Act of Congress expressly authorizes DOE to

devastate research by enacting a radical change from institution-specific negotiated rates to a

single across-the-board rate for all universities. Thus, under the major questions doctrine, DOE

cannot impose such a change unilaterally.
      Case 1:25-cv-10912-ADB          Document 1       Filed 04/14/25      Page 38 of 41




       6.     Because Congress did not expressly authorize DOE to obliterate the cutting-edge

research it has long funded, the Rate Cap Policy is invalid.

                                           Count VI

      Violation of Administrative Procedure Act—In Excess of Statutory Authority

                                        (Retroactivity)

       102.   Plaintiffs restate and reallege all paragraphs above as if fully set forth herein.

       103.   The APA directs courts to hold unlawful and set aside agency actions that are in

excess of statutory authority. 5 U.S.C. § 706(2)(C).

       104.   “[A] statutory grant of legislative rulemaking authority will not, as a general

matter, be understood to encompass the power to promulgate retroactive rules unless that power

is conveyed by Congress in express terms.” Bowen v. Georgetown Univ. Hosp., 488 U.S. 204,

208 (1988).

       105.   The Rate Cap Policy is a retroactive action because it “impair[s] rights a party

possessed when [it] acted, increase[s] a party’s liability for past conduct, [and] impose[s] new

duties with respect to transactions already completed.” Landgraf v. USI Film Prods., 511 U.S.

244, 280 (1994).

       106.   Congress did not authorize DOE to retroactively modify indirect cost rates when

it enacted DOE’s grantmaking authority, or in any other statute. Nor can DOE evade this problem

by purporting to apply the 15% cap only to new grants while terminating all existing grants with

higher caps. The reduced rate necessarily undermines project budgets that were previously

approved and upsets institutions’ commitments made in reliance upon those budgets.

       107.   Because DOE’s retroactive action is in excess of its statutory authority, the Rate

Cap Notice is invalid.




                                               38
      Case 1:25-cv-10912-ADB         Document 1       Filed 04/14/25     Page 39 of 41




                                  PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully pray for the following relief:

          a. Vacatur of the Rate Cap Policy;

          b. Declaratory judgment finding the Rate Cap Policy invalid, arbitrary and capricious,

          and contrary to law;

          c. An injunction preliminarily and permanently prohibiting Defendants, their agents,

          and anyone acting in concert or participation with Defendants from implementing,

          instituting, maintaining, or giving effect to the Rate Cap Policy in any form; from

          otherwise modifying negotiated indirect cost rates except as permitted by statute and

          by the regulations of OMB; and from terminating any grants pursuant to the Rate Cap

          Policy or based on a grantee’s refusal to accept a indirect cost rate less than their

          negotiated rate;

          d. An order awarding Plaintiff’s costs of suit and reasonable attorneys’ fees and

          expenses pursuant to any applicable law;

          e. Any such further relief as the Court deems equitable, just, and proper.
       Case 1:25-cv-10912-ADB       Document 1      Filed 04/14/25      Page 40 of 41




Dated: April 14, 2025                         Respectfully submitted,

JENNER & BLOCK LLP                            CLEMENT & MURPHY, PLLC

By: /s/ Shoba Pillay                          By: /s/ Paul D. Clement

Shoba Pillay, BBO No. 659739                   Paul D. Clement (pro hac vice forthcoming)
353 N Clark Street                             James Y. Xi (pro hac vice forthcoming)
Chicago, IL 60654                              Kyle R. Eiswald (pro hac vice forthcoming)
Tel: (312) 222-9350                            706 Duke Street
SPillay@jenner.com                             Alexandria, VA 22314
                                               Tel: (202) 742-8900
Ishan K. Bhabha (pro hac vice forthcoming)     paul.clement@clementmurphy.com
Lindsay C. Harrison (pro hac vice forthcoming) james.xi@clementmurphy.com
Lauren J. Hartz (pro hac vice forthcoming)     kyle.eiswald@clementmurphy.com
Anjali Motgi (pro hac vice forthcoming)        Attorneys for Association of American
Zachary C. Schauf (pro hac vice forthcoming) Universities, Association of Public and Land-
1099 New York Avenue, NW                       grant Universities, and American Council on
Suite 900                                      Education
Washington, DC 20001
Tel: (202) 639-6000
IBhabha@jenner.com
LHarrison@jenner.com
LHartz@jenner.com
AMotgi@jenner.com
ZSchauf@jenner.com
Attorneys for All Plaintiffs




                                            40
      Case 1:25-cv-10912-ADB          Document 1      Filed 04/14/25      Page 41 of 41




                               CERTIFICATE OF SERVICE

       I hereby certify that on this 14th day of April, 2025, I caused the foregoing to be

electronically filed with the clerk of the court for the U.S. District Court for the District of

Massachusetts, by using the CM/ECF system, which will send a notice of electronic filing to all

counsel of record, a true and correct copy of the foregoing instrument and all attachments.



                                                           /s/ Shoba Pillay
                                                           Shoba Pillay, BBO No. 659739
                                                           Jenner & Block LLP
                                                           353 N Clark Street
                                                           Chicago, IL 60654
                                                           Tel: (312) 222-9350
                                                           SPillay@jenner.com
